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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 UNIVERSAL AMERICAN CORP.,                            )
                                                      )
         Plaintiff,                                   )
                                                      )
                  V.                                   )       C.A. No. 13-1741-RGA
                                                       )
 PARTNERS HEALTHCARE                                   )
 SOLUTIONS HOLDINGS, L.P., GTCR                        )
 GOLDER RAUNER II, L.L.C., GTCR                        )
 PARTNERS IX, L.P., GTCR FUND DUA,                     )
 L.P., GTCRFUND DUB, L.P., GTCR                        )
 CO-INVEST III, L.P., DAVID KATZ,                      )
 GREGORY SCOTT, JEROME                                 )
 VACCARO and JOHN McDONOUGH,                           )
                                                       )
         Defendants.                                   )

                             [~SCHEDULING ORDER

         This   -\3-   day ofJune, 2016, the Court having conducted an initial Rule 16(b)

 scheduling conference pursuant to Local Rule 16.l(b), and the parties having determined

 after discussion that the matter cannot be resolved at this juncture by settlement, voluntary

 mediation, or binding arbitration;

         IT IS ORDERED that:

         1.       Rule 26(a)(l) Initial Disclosures. Unless otherwise agreed to by the parties, 1

 the parties shall make their initial disclosures pursuant to Federal Rule of Civil Procedure

 26(a)(l) within five days of the date of this Order.

         2.       Joinder of Other Parties and Amendment of Pleadings. All motions to join

 other parties, and to amend or supplement the pleadings, shall be filed on or before March



 1
  For purposes of this document, the parties refer to Universal American Corp. as one party and the
 defendants, collectively, as a second party.
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 30, 2017, unless the moving party demonstrates good cause for filing a motion to join other

 parties or amend or supplement pleadings after that date.

        3.      Discovery.

                (a)     Discovery Cut Off. All fact discovery, including third-party

 discovery, in this case shall be initiated so that it will be completed on or before May 30,

 2017. If notwithstanding the parties' best efforts, third-party depositions of APS

 customers cannot be completed prior to May 30, 2017, up to two such depositions may be

 taken on or before June 6, 2017.

                (b)     Document Production. The parties' document productions in

 response to the previously served document requests shall be made on a rolling basis and

 shall be substantially complete by November 16, 2016. This does not preclude the parties

 from serving additional requests for productions to be made prior to the May 30, 2017

 discovery cut off.

                (c)     Privilege Logs. The parties shall simultaneously exchange privilege

 logs for their respective document productions on December 30, 2016.

                (d)     Reguests for Admission. A maximum of 80 requests for admission,

 including subparts but excluding requests for admission as to the authenticity of

 documents, are permitted for each side. There shall be no limit as the number of requests

 for admission as to the authenticity of documents.

                (e)     Interrogatories. A maximum of 50 interrogatories, including

 subparts and contention interrogatories, are permitted for each side. For the avoidance of

 doubt, this limitation does not include interrogatories previously served in Vaccaro v. APS



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 Healthcare Bethesda, Inc., et al., C.A. No. 9367-VCG, which was filed in the Delaware

 Court of Chancery.

               (f)    Depositions.

                      (i)    Limitation on Hours for Deposition Discovery. Each side is

                             limited to a total 240 hours of taking testimony by deposition

                             upon oral examination, excluding expert testimony.

                      (ii)   Location of Depositions. Any party or representative

                             (officer, director, or managing agent) of a party filing a civil

                             action in this district court must ordinarily be required, upon

                             request, to submit to a deposition at a place designated

                             within this district. Exceptions to this general rule may be

                             made by order of the Court or by agreement of the parties. A

                             defendant who becomes a counterclaimant, cross-claimant,

                             or third-party plaintiff shall be considered as having filed an

                             action in this Court for the purpose of this provision.

               (g)    Disclosure of Expert Testimony.

                      (i)    Expert Reports. For the party who has the initial bmden of

                             proof on the subject matter, the initial Federal Rule 26(a)(2)

                             disclosures of expert testimony are due on or before June 30,

                             2017.

                      (ii)   Responsive disclosures of expert testimony to contradict or

                             rebut previous evidence on the same matter identified by



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                               another party under Section 3(g)(i) above are due on or

                               before August 4, 2017.

                       (iii)   Rebuttal disclosures to contradict or rebut previous evidence

                               on the same matter identified by another party under Section

                               3(g)(ii) above are due on or before September 1, 2017.

                       (iv)    No other expert reports will be permitted without either the

                               consent of all parties or leave of the Court.

                        (v)    Along with the submissions of the expert reports, the parties

                               shall advise of the dates and times of their experts'

                               availability for deposition. Any expert depositions shall be

                               taken no later than September 29, 2017.

                       (vi)    Objections to Expert Testimony. To the extent any objection

                               to expert testimony is made pursuant to the principles

                               announced in Daubert v. Merrell Dow Pharm., Inc., 509

                               U.S. 579 (1993), as incorporated in Federal Rule of Evidence

                               702, it shall be made by motion no later than the deadline for

                               dispositive motions set forth herein, unless otherwise ordered

                               by the Court. All Daubert motions shall be subject to the

                               page limitations set forth in paragraph 7, below.

                (h)    Discovery Matters and Disputes Relating to Protective Orders.

 Should counsel find they are unable to resolve a discovery matter or a dispute relating to a

 protective order, the parties involved in the discovery matter or protective order dispute

 shall contact the Court's Case Manager to schedule a hearing. Unless otherwise ordered,

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 by no later than forty-eight hours prior to the hearing, the party seeking relief shall file

 with the Court a letter, not to exceed three pages, outlining the issues in dispute and its

 position on those issues. By no later than twenty-four hours prior to the hearing, any party

 opposing the application for relief may file a letter, not to exceed three pages, outlining

 that party's reasons for its opposition. Should any document(s) be filed under seal, a

 courtesy copy of the sealed document(s) must be provided to the Court within one hour of

 e-filing the document(s).

                (i)     If a discovery-related motion is filed without leave of the Court, it

 will be denied without prejudice to the moving party's right to bring the dispute to the

 Court through the discovery matters procedures set forth in this Order.

        4.      Application to Court for Protective Order. Should counsel find it will be

 necessary to apply to the Court for a protective order specifying terms and conditions for

 the disclosure of confidential information, counsel should confer and attempt to reach an

 agreement on a proposed form of order and submit it to the Court within ten days from the

 date of this Order. Should counsel be unable to reach an agreement on a proposed form of

 order, counsel must follow the provisions of Paragraph 3(g) above.

        Any proposed protective order must include the following paragraph:

                        Other Proceedings. By entering this order and
                        limiting the disclosure of information in this
                        case, the Court does not intend to preclude
                        another court from finding that information
                        may be relevant and subject to disclosure in
                        another case. Any person or party subject to
                        this order who becomes subject to a motion to
                        disclose another party's information
                        designated as confidential pursuant to this
                        order shall promptly notify that party of the
                        motion so that the party may have an

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                        opportunity to appear and be heard on
                        whether that information should be disclosed.

        5.      Papers Filed Under Seal. When filing papers under seal, counsel shall

 deliver to the Clerk an original and one copy of the papers. A redacted version of any

 sealed document shall be filed electronically within seven days of the filing of the sealed

 document.

        6.      Courtesy Copies. The parties shall provide to the Court two courtesy copies

 of all briefs and one courtesy copy of any other document filed in support of any briefs

 (i.e., appendices, exhibits, declarations, affidavits etc.). This provision also applies to

 papers filed under seal.

        7.      Case Dispositive and Daubert Motions. All of a party's case dispositive or

 Daubert motions shall be briefed together. The opening brief, and affidavits, if any, in

 support of any such motions shall be served and filed on or before October 27, 2017. All

 briefs and affidavits, if any, in opposition to such motions shall be served and filed on or

 before November 30, 2017. The combined opening briefs in support of and the combined

 briefs in opposition to all case dispositive and Daubert motions shall be no more than 20

 pages. All briefs and affidavits, if any, in reply on the motions shall be served and filed on

 or before December 15, 2017. The combined reply briefs on all case dispositive and

 Daubert motions shall be no more than 10 pages.

        8.      Applications by Motion. Except as otherwise specified herein, any

 application to the Court shall be by written motion. Any non-dispositive motion should

 contain the statement required by Local Rule 7 .1.1.




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               9.      Pretrial Conference. On March 2, 2018, the Court will hold a Rule 16(e)

       final pretrial conference in Court with counsel beginning at 8:30 a.m. The parties shall file

       a joint proposed final pretrial order in compliance with Local Rule 16.3(c) no later than 5

       p.m. on February 27, 2018. Unless otherwise ordered by the Court, the parties shall comply

       with the timeframes set forth in Local Rule 16.3(d) for the preparation of the proposed

       joint final pretrial order.

               10.     Proposed Findings of Fact. On January 5, 2018, Plaintiff will serve its

       Proposed Findings of Fact on Defendants. On February 2, 2018, Defendants will serve

       their responses to Plaintiff's Proposed Findings of Fact, as well as any Counter-Proposed

       Findings of Fact. The parties shall confer and agree upon the appropriate number of

       proposed findings, provided that Defendants' Counter-Proposed Findings of Fact shall be

       proportionally fewer than Plaintiff's Proposed Findings of Fact. On February 23, 2018,

       Plaintiff will serve its responses to Defendants' Counter-Proposed Findings of Fact. Each

       Proposed Finding, Counter-Proposed Finding and response shall be set forth in a separately

       numbered sentence, with relevant citations. No later than 5 p.m. on February 27, 2018, the

       parties shall file their combined Proposed Findings, Counter-Proposed Findings, and

       responses thereto.

               11.     Motions in Limine. Motions in limine shall not be separately filed. All in

       limine requests and responses thereto shall be set forth in the proposed pretrial order. Each

       party shall be limited to three in limine requests, unless otherwise permitted by the Court.

       The in limine request and any response shall contain the authorities relied upon; each in

       limine request may be supported by a maximum of three pages of argument and may be

       opposed by a maximum of three pages of argument, and the party making the in limine

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                     request may add a maximum of one additional page in reply in support of its request. If

                     more than one party is supporting or opposing an in limine request, such support or

                     opposition shall be combined in a single three page submission (and, ifthe moving party, a

                     single one page reply). No separate briefing shall be submitted on in limine requests,

                     unless otherwise permitted by the Court.

                             12.    Trial. This matter is scheduled for a five day trial beginning at 9:30 a.m. on

                     March 12, 2018, with the subsequent trial days beginning at 9:30 a.m. The trial will be

                     timed, as counsel will be allocated a total number of hours in which to present their

                     respective cases.

                             13.    ADR Process. This matter is referred to a magistrate judge to explore the

                     possibility of alternative dispute resolution.




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